      5:14-cv-14842-JEL-RSW      Doc # 8   Filed 01/20/15   Pg 1 of 9   Pg ID 20



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DEREK REED,                                                 Case No. 14-cv-14842
                                                            Hon. JUDITH E. LEVY
                          Plaintiff,

v.

GFI HOLDINGS, LLC,
an Illinois limited liability company,
and JOHN GUZZARDO,

                          Defendants.

GOLD STAR LAW, P.C.
Armin Halilovic (P78042)
Caitlin E. Malhiot (P76606)
David A. Hardesty (P38609)
Attorneys for Plaintiff
2701 Troy Center Dr., Ste. 400
Troy, MI 48084
(248) 275-5200
ahalilovic@goldstarlaw.com
cmalhiot@goldstarlaw.com
dhardesty@goldstarlaw.com



            PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT


      Plaintiff, Derek Reed, through his undersigned attorneys, respectfully moves

this Court to enter default judgment against Defendants GFI Holdings, LLC and

John Guzzardo pursuant to F. R. Civ. P. 55(b)(2). In support of his motion,
      5:14-cv-14842-JEL-RSW      Doc # 8   Filed 01/20/15   Pg 2 of 9   Pg ID 21



Plaintiff relies upon the attached Brief in Support of Default Judgment and upon

the pleadings on file with this Court.

      WHEREFORE, Plaintiff respectfully requests that this Court grant

Plaintiff’s Motion for Default Judgment in its entirety and award Plaintiff his costs

and fees incurred herein.

                                                 Respectfully submitted,

                                                 GOLD STAR LAW, P.C.

                                                   /s/Armin Halilovic
                                                 Armin Halilovic (P78042)
                                                 Caitlin E. Malhiot (P76606)
                                                 David A. Hardesty (P38609)
                                                 Attorneys for Plaintiff
                                                 2701 Troy Center Drive, Ste. 400
                                                 Troy, Michigan 48084
                                                 (248) 275-5200
Dated: January 20, 2015




                                           2
      5:14-cv-14842-JEL-RSW      Doc # 8   Filed 01/20/15   Pg 3 of 9   Pg ID 22



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DEREK REED,                                                 Case No. 14-cv-14842
                                                            Hon. JUDITH E. LEVY
                          Plaintiff,

v.

GFI HOLDINGS, LLC,
an Illinois limited liability company,
and JOHN GUZZARDO,

                          Defendants.

GOLD STAR LAW, P.C.
Armin Halilovic (P78042)
Caitlin E. Malhiot (P76606)
David A. Hardesty (P38609)
Attorneys for Plaintiff
2701 Troy Center Dr., Ste. 400
Troy, MI 48084
(248) 275-5200
ahalilovic@goldstarlaw.com
cmalhiot@goldstarlaw.com
dhardesty@goldstarlaw.com


                        BRIEF IN SUPPORT OF
            PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT


I.    INTRODUCTION

      Plaintiff Derek Reed (“Reed”) commenced this action on December 22,

2014. [Dkt. No. 1, Complaint]. Plaintiff’s complaint alleged that Defendants GFI
      5:14-cv-14842-JEL-RSW      Doc # 8   Filed 01/20/15   Pg 4 of 9   Pg ID 23



Holdings, LLC (“GFI”) and John Guzzardo (“Guzzardo”) violated the Fair Labor

Standards Act of 1938 (“FLSA”) 29 U.S.C. § 201, et seq., and the Whistleblowers’

Protection Act (“WPA”), MCL § 15.361. Plaintiff alleges that Defendants failed to

pay him for overtime hours, or one and one-half (1 ½) times Plaintiff’s regular

hourly rate, for hours worked in excess of forty (40) per week, and for retaliatory

discharge after Plaintiff threatened to report wage violations and misclassification

as an independent contractor.

      Plaintiff served the complaint and summons on Defendants on December 23,

2014. [Dkt. No. 4, Summ. and Compl. Rtrn.]. Defendants failed to timely appear

and have not entered any appearance in this case or otherwise responded to the

complaint. The clerk entered Defendants’ default on January 16, 2015. [Dkt. No.

6; Dkt. No. 7]. To date, Defendants have not attempted to remedy the default.

II.   STANDARD OF REVIEW

      “A defendant must serve an answer within 21 days after being served with

the summons and complaint . . .” F. R. Civ. P. 12 (a)(1)(A)(i). “[T]he clerk must

enter” a default if the defendant fails to enter an appearance or otherwise respond

to the complaint. F. R. Civ. P. 55(a). Upon the clerk’s entry of default, the plaintiff

may seek an entry of default judgment against the defendant by the court. F. R.

Civ. P. 55(b)(2).




                                           2
       5:14-cv-14842-JEL-RSW      Doc # 8   Filed 01/20/15   Pg 5 of 9   Pg ID 24



       “When a defendant is in default, the well-pleaded factual allegations in the

Complaint, except those relating to damages, are taken as true.” Ford Motor Co. v.

Cross, 441 F. Supp 2d 837, 848 (E.D. Mich. 2006) (citing Thomson v. Wooster,

114 U.S. 104, 5 S.Ct. 788, 29 L.Ed. 105 (1885)). By failing to respond to the

complaint, the defendant “is deemed to have admitted all of the well-pleaded

factual allegations in the complaint pertaining to liability.” Juana’s Packing Co.,

LLC v. Federal Bakers USA, LLC, 2010 U.S. Dist. Lexis 4677, 3 (W.D. Mich.

2010) (citing Antoine v. Atlas Turner, Inc., 66 F.3d 105, 110-11 (6th Cir.1995))

[Ex. 1]. Lastly, if the allegations in the complaint are “sufficient to support a

finding of liability as to each defendant . . . the Court should enter judgment.”

Ford Motor Co., 441 F. Supp at 848.

III.   THE FACTS ALLEGED IN THE COMPLAINT ESTABLISH
       DEFENDANTS’ LIABILITY

       Pursuant to the FLSA, an employer must compensate an employee for all

hours worked and at one and one-half times (1 ½) the employee’s regular rate of

pay for all hours worked in excess of forty (40) hours in a week. 29 U.S.C. §

207(a)(1). An employer who violates the FLSA is liable to the employee for the

difference between the amount paid to the employee and the amount that, but for

the violation, would have been paid, plus an additional equal amount as liquidated

damages and reasonable attorney fees. 29 U.S.C. § 216(b).




                                            3
      5:14-cv-14842-JEL-RSW       Doc # 8   Filed 01/20/15   Pg 6 of 9   Pg ID 25



      Defendants employed Plaintiff Reed from sometime in 2007 to September

26, 2014. [Dkt. No. 1, Complaint ¶ 8]. Plaintiff regularly worked in excess of

forty (40) hours throughout his employment with Defendants. [Id. ¶¶ 11-13]. All

of the hours that Plaintiff worked, including overtime hours, were worked at the

direction and with the sufferance of Defendants. [Id. ¶ 26]. Defendants, however,

did not compensate Plaintiff one and one-half (1 ½) times their regular hourly rate

for all hours worked in excess of forty (40) per week, but at his regular hourly rate

for all hours worked. [Id. ¶ 15]. Therefore, Defendants violated 29 U.S.C. §

207(a)(1) by failing to pay Plaintiff an overtime premium.

      Pursuant to the FLSA, an employer may not terminate an employee for

reason that they report, or are about to report, a violation under the FSLA. 29 USC

§ 215(a)(3). Plaintiff engaged in a protected activity when he complained to

Defendants regarding his misclassification as an independent contractor, and when

he threatened Defendants that he would report them to the Department of Labor

(“DOL”) and Internal Revenue Services (“IRS”). [Dkt. No. 1, Complaint ¶¶ 28-

29]. Therefore, Defendants violated the FSLA when Defendants terminated

Plaintiff for the reason that Plaintiff threatened to report wage, hour, and employee

misclassification to the DOL and IRS. [Id. ¶¶ 30-32].

      Pursuant to the WPA, an employer may not terminate an employee for

reason that they report, or are about to report, a violation of state or federal law.


                                            4
       5:14-cv-14842-JEL-RSW     Doc # 8   Filed 01/20/15   Pg 7 of 9   Pg ID 26



MCL § 15.362.3. Plaintiff engaged in a protected activity when he complained to

Defendants regarding his misclassification as an independent contractor, and when

he threatened Defendants that he would report them to the DOL and IRS. [Dkt.

No. 1, Complaint ¶¶ 28-29]. Therefore, Defendants violated the WPA when

Defendants terminated Plaintiff for the reason that Plaintiff threatened to report

unpaid overtime and employee misclassification to the DOL and IRS. [Id. ¶¶ 30-

32].

       Furthermore, Defendant Guzzardo is an “employer” as defined by the FLSA.

Employers are broadly defined in the FLSA as “. . . any person acting directly or

indirectly in the interest of an employer in relation to an employee.” 29 U.S.C. §

203(d). An individual is an employer under the FLSA if the individual “has a

significant ownership interest in [a business], controls significant functions of the

business, and determines salaries and makes hiring decisions.” US Dept. of Labor

v. Cole Enterprises, Inc., 62 F. 3d 775, 778 (6th Cir. 1995). Guzzardo is the

resident agent of GFI, is a member and manager of GFI, and is responsible for

managing GFI’s day-to-day operations and setting GFI’s compensation policies.

[Dkt. No. 1, Compl. ¶ 7]. Accordingly, Guzzardo is an employer as defined by the

FLSA and is personally liable to Plaintiff for the FLSA violations.

       Lastly, Defendants did not act in good faith because their refusal to properly

compensate Plaintiff was willful. [Id. ¶ 27]. Defendants are therefore required to


                                           5
         5:14-cv-14842-JEL-RSW    Doc # 8   Filed 01/20/15   Pg 8 of 9   Pg ID 27



pay liquidated damages. See 29 U.S.C. § 260 (“. . . if the employer shows to the

satisfaction of the court that the act or omission giving rise to such action was in

good faith . . . the court may, in its sound discretion, award no liquidated damages.

. .”).

IV.      CONCLUSION

         Pursuant to Rule 55(b) of the Federal Rules of Civil Procedure, and based on

the facts deemed admitted in this case by Defendants’ failure to answer or

otherwise defend, and those made known to the Court by affidavit or otherwise,

Plaintiff respectfully requests that this Court enter default judgment for Plaintiff

and against Defendants, jointly and severally, and to schedule a hearing to

determine damages.


                                                     Respectfully submitted,

                                                     GOLD STAR LAW, P.C.

                                                       /s/ Armin Halilovic
                                                     David A. Hardesty (P38609)
                                                     Caitlin E. Malhiot (P76606)
                                                     Armin Halilovic (P78042)
                                                     Attorneys for Plaintiff
                                                     2701 Troy Center Dr., Ste. 400
                                                     Troy, Michigan 48084
                                                     (248) 275-5200
Dated: January 20, 2015




                                            6
      5:14-cv-14842-JEL-RSW    Doc # 8   Filed 01/20/15   Pg 9 of 9   Pg ID 28



                            PROOF OF SERVICE

      The undersigned swears that on January 20, 2015, he served a copy of
Plaintiff’s Motion for Default Judgment and Brief in Support of Plaintiff’s
Motion for Default Judgment on the Defendants by placing said documents in an
envelope addressed to:

      GFI Holdings, LLC
      ℅ John Guzzardo
      1300 Woodward Heights
      Ferndale, MI 48220

and depositing the same in a United States Mail Receptacle with postage fully pre-
paid thereon.

                                                    /s/ James Tantalo
                                                  James Tantalo
                                                  GOLD STAR LAW, P.C.




                                         7
